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                            UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA
__________________________________________________________________________
L A APPAREL, INC.,                            :
a/k/a LA APPAREL, INC.,                       :       Case No. 3:21-mc-00285
                       Petitioner,            :
                                              :
v.                                            :
                                              :
STRAIGHT A COMPANY, LP,                       :
                       Respondent.            :
__________________________________________________________________________


             ORDER ON CONSENT EXTENDING TIME TO FILE MOTION


        And now, this ______ day of January 2023, upon consideration of the letter annexed

hereto as Exhibit 1, whereby the parties hereto have jointly requested that the date for the

Petitioner to file its Motion for Attorneys’ Fees and Costs, be extended an additional time from

January 10, 2023 to January 20, 2023, it is hereby

        ORDERED that the joint request of the parties is granted, and the time for Petitioner to

file the Motion for Attorneys’ Fees and Costs is hereby extended to and including January 20,

2023.

                              BY THE COURT:


                              ___________________________________
                              Malachy E. Mannion, U.S.D.J.
